

People v Fan (2023 NY Slip Op 03206)





People v Fan


2023 NY Slip Op 03206


Decided on June 13, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 13, 2023

Before: Kapnick, J.P., Friedman, Gesmer, González, Pitt-Burke, JJ. 


Ind. No. 1547/21 Appeal No. 457 Case No. 2022-02553 

[*1]The People of The State of New York, Respondent, 
vJenice Fan, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Frank Xiao of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Andrew H. Chung of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Steven M. Statsinger, J.), rendered December 09, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 13, 2023
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








